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 Via ECF

 March 27, 2023

 Honorable Taryn A. Merkl, U.S.M.J.
 United States District Court Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:      Star Auto Sales of Bayside, Inc., et al. v. Voynow, Bayard, Whyte and Co., LLP
          (“Voynow”), et al.
          Case No.: 1:18-cv-5775 (ERK) (TAM)

 Dear Judge Merkl:

         This firm represents the Plaintiffs, and we submit this joint letter with Defendants’ counsel,
 Maureen Fitzgerald. In compliance with the Court’s March 20, 2023 order, the parties submit this
 joint status letter identifying the discovery disputes that were previously identified by Plaintiffs
 that have not been resolved by the parties which will need to be addressed during the conference
 on March 28, 2023. Below is a list of the outstanding discovery disputes along with a reference
 to the location in the documents previously submitted by the parties for each dispute:

       1) Reynolds Emails (ECF No. 82, at 1-2, 8; ECF No. 97, at 3);
       2) 30(b)(6) Deposition of Voynow (ECF No. 82, at 2, 8-9; ECF No. 91 at Ex. A, Ex. C);
               a. Plaintiffs’ Motion for Sanctions (ECF Nos. 87, 91, 96);
       3) McCloskey’s Motion to Quash Subpoena (ECF No. 82, at 2-3; 9-10; ECF Nos. 84, 89, 90,
           92, 95);
       4) Demand No. 22 from Plaintiffs’ First Request for Documents (ECF No. 82, at 3-4, 10-11);
       5) Demand No. 11 from Plaintiffs’ First Request for Documents (ECF No. 82, at 4, 11-12);
       6) Demand No. 9 from Plaintiffs’ Second Request for Documents (ECF No. 82, at 5; 12-13);
       7) Demand No. 1 from Plaintiffs’ Fourth Request for Documents (ECF No. 82, at 5; 13);
       8) Demand No. 2 from Plaintiffs’ Fourth Request for Documents (ECF No. 82, at 5-6; 13-
           14);
       9) Demand No. 6 from Plaintiffs’ Fourth Request for Documents (ECF No. 82, at 6; 14-15);
       10) Demand No. 7 from Plaintiffs’ Fourth Request for Documents (ECF No. 82, at 6; 15 and
           responsive documents were produced);
       11) Demand No. 12 from Plaintiffs’ Fourth Request for Documents (ECF No. 82, at 6; 15);
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    12) Demand Nos. 13-15 from Plaintiffs’ Fourth Request for Documents (ECF No. 82, at 7; 15-
        16);
    13) Item No. 3 from Plaintiffs’ March 17, 2023 Letter regarding metadata (ECF No. 93, at 1;
        Produced by Defendants on March 23, 2023);
    14) Item No. 5 from Plaintiffs’ March 17, 2023 Letter regarding Voynow employees’ staff
        number on timesheets (ECF No. 93, at 2; ECF No. 97);
    15) Item No. 6 from Plaintiffs’ March 17, 2023 Letter regarding deposition transcripts (ECF
        No. 93, at 2; ECF No. 97, at 2; ECF 91 at Ex. H);
    16) Item No. 7 from Plaintiffs’ March 17, 2023 Letter regarding Defendants’ Second Amended
        Initial Disclosures (ECF No. 93, at 2);
    17) Item No. 8 from Plaintiffs’ March 17, 2023 Letter regarding Subaru Distributors
        Corporation (“SDC”) subpoena for documents (ECF No. 93, at 2; ECF No. 97, at 2-3);
            a. Subaru of America’s response to Defendants’ subpoena for documents
    18) Possible Additional Discovery and end date of fact discovery in light of outstanding issues
        (ECF No. 82, at 3; Court Order of 12/5/2022). In addition, deadlines for expert reports and
        expert depositions will need to be addressed.

        The parties have agreed on a mediator and are in the process of scheduling an initial call
 with the mediator to discuss a date for the mediation.

                                             Respectfully submitted,

                                             MILMAN LABUDA LAW GROUP PLLC

                                             /s/ Jamie S. Felsen
 cc: All counsel of record
